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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS


                                         MDL No. 2867
IN RE LOCAL TV ADVERTISING               No. 18-cv-6785
ANTITRUST LITIGATION
                                         CONSOLIDATED AMENDED
                                         ANTITRUST CLASS ACTION
                                         COMPLAINT

                                         JURY TRIAL DEMANDED
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         Plaintiffs THOUGHTWORX, INC. D/B/A MCM SERVICES GROUP and ONE

SOURCE HEATING & COOLING, LLC (collectively, “Plaintiffs”), individually and on behalf

of all other similarly situated direct purchasers of broadcast television spot advertising (the

“Class,” more fully defined infra), bring this action under Section 1 of the Sherman Act for

treble damages, injunctive relief, and other relief pursuant to the federal antitrust laws,

demanding a trial by jury of all issues so triable. Plaintiffs allege as follows based upon personal

knowledge as to the facts pertaining to themselves, and upon information and belief and the

investigation of counsel as to all other matters:

I.       THE NATURE OF DEFENDANTS’ UNLAWFUL CONDUCT

         1.    This antitrust class action arises from a price fixing cartel facilitated by an

anticompetitive information exchange between and among certain major television station

owners and operators to artificially inflate the prices of broadcast television spot advertisements1

in violation of Section 1 of the Sherman Act (15 U.S.C. § 1).

         2.    Beginning on or around January 1, 2014, Dreamcatcher Broadcasting LLC,

Griffin Communications, LLC, Meredith Corporation, Nexstar Media Group, Inc., Gray

Television, Inc. (through its acquisition of Raycom Media, Inc.), Sinclair Broadcast Group, Inc.,

Tribune Broadcasting Company, LLC, and Tribune Media Company (collectively,

“Defendants”)—firms that collectively account for billions of dollars in annual broadcast

television spot advertising revenue—secretly orchestrated a scheme to supracompetitively

impact the price levels of broadcast television spot advertisements by agreeing to fix prices and

exchange competitively sensitive historic, current, and forward-looking sales data, including



1
 The television advertisements are purchased directly from broadcast television stations (as
opposed to cable operators) and are referred to herein as “broadcast television spot advertising.”
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pacing data. Pacing information is used to compare a broadcast station’s revenues booked for a

certain time period to the revenues booked for the same point in time in the previous year (the

exchange of which allows Defendants to forecast their would-be competitors’ remaining

inventory of broadcast television spot advertising availabilities).

       3.      The information exchanged covered both local and national broadcast television

spot advertising and was disseminated to individuals within Defendants’ organizations with

authority over pricing, with Defendants’ knowledge and at their direction. By allowing

Defendants to better understand, in real time, the availability of their would-be competitors’

inventory through the exchange of pacing data—with inventory being a, if not the, key factor

affecting pricing negotiations—the scheme derailed the competitive process and allowed

Defendants to avoid price competition, harming direct purchasers of broadcast television spot

advertising. The exchange also served as a means to monitor the members of the price fixing

cartel, as any deviation from the scheme (i.e., what is referred to in the literature as “cheating” on

the cartel) could be easily detected and punished. This information exchange not only facilitated

the Defendants’ price fixing cartel, but also itself is separately unlawful under Section 1 of the

Sherman Act.

       4.      As the United States Department of Justice (“DOJ”) explained, “Advertisers rely

on competition among owners of broadcast television stations to obtain reasonable advertising

rates, but this unlawful sharing of information lessened that competition and thereby harmed the

local businesses and the consumers they served.”

       5.      Thus, the DOJ intervened to end what it characterized as “concerted action

between horizontal competitors in the broadcast television spot advertising market,” filing a

series of Proposed Judgments and Stipulations and Orders with Defendants Dreamcatcher



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Broadcasting, LLC, Griffin Communications, LLC, Meredith Corporation, Nexstar Media Group

Inc., Raycom Media, Inc.,2 Sinclair Broadcast Group, Inc., and Tribune Media Company on

November 13, 2018 and December 12, 2018 (the “Judgments”).

         6.      As described in the DOJ’s Competitive Impact Statement (the “Statement”)

discussed below, the Judgments included a number of provisions designed to “terminate

Defendants’ illegal conduct, prevent recurrence of the same or similar conduct, and ensure that

Defendants establish an antitrust compliance program,” thereby “putting a stop to the

anticompetitive information sharing.”

         7.      The DOJ noted in the Statement that these remedial efforts were “necessary in

light of the extensive history of communications among rival stations that facilitated

Defendants’ agreements” in restraint of trade, and in its Complaint, the DOJ action

“challenge[d] under Section 1 of the Sherman Act Defendants’ agreements to unlawfully

exchange competitively sensitive information among broadcast television stations.”

         8.      As Justice Sotomayor held before her ascension to the United States Supreme

Court, “[i]nformation exchange is an example of a facilitating practice that can help support an

inference of a price-fixing agreement.” Todd v. Exxon Corp., 275 F.3d 191, 198 (2d Cir. 2001)

(Sotomayor, J.) (noting that information exchanges can both be evidence of a per se unlawful

price fixing cartel and separately unlawful in and of themselves).3

         9.      Plaintiffs bring this antitrust class action lawsuit on behalf of themselves and all

similarly situated direct purchasers of broadcast television spot advertising—who remain



2
 As mentioned below, while Gray Television, Inc. was not named as a defendant in any of the
suits brought by the DOJ, in January of 2019, it finalized the acquisition of Raycom Media, Inc.,
and thereby assumed liability for the acts of the acquired entity.
3
    All emphases to quoted material in the complaint have been added.
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uncompensated for the anticompetitive harm they suffered as a result of the Defendants’

unlawfully earned gains.

II.    JURISDICTION AND VENUE ARE PROPER HERE

       10.     Plaintiffs bring this antitrust class action lawsuit pursuant to Sections 4 and 16 of

the Clayton Act (15 U.S.C. §§ 15 and 26), to recover damages suffered by the Class and the

costs of suit, including reasonable attorneys’ fees; to enjoin Defendants’ anticompetitive

conduct; and for such other relief as is afforded under the laws of the United States for

Defendants’ violations of Section 1 of the Sherman Act (15 U.S.C. § 1).

       11.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337,

and Sections 4 and 16 of the Clayton Act (15 U.S.C. §§ 15(a), 26).

       12.     Venue is proper in this District pursuant to Sections 4, 12, and 16 of the Clayton

Act (28 U.S.C. §§ 15, 22, and 26), and pursuant to 28 U.S.C. § 1391(b), (c), and (d), because, at

all times relevant to the Complaint, one or more of the Defendants resided, transacted business,

was found, or had agents in this District or a transferor District.

III.   DEFENDANTS’ CONDUCT AFFECTED INTERSTATE COMMERCE

       13.     Billions of dollars of transactions in broadcast television spot advertisements are

entered into each year in interstate commerce in the United States and the payments for those

transactions flowed in interstate commerce. Each Defendant sells broadcast television spot

advertising to advertisers throughout the United States or owns and operates broadcast television

stations in multiple states or in Designated Market Areas (“DMAs,” defined infra) that often

cross state lines. Additionally, Sales Rep Firms (defined infra) represent Defendants throughout

the United States in the sale of broadcast television spot advertising to advertisers.

       14.     Defendants’ manipulation of the market for the sale of broadcast television spot



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advertising thus was in the flow of, and had a direct, substantial, and foreseeable impact on,

interstate commerce.

IV.     THE PARTIES AND UNNAMED AGENTS AND CO-CONSPIRATORS

        A.      The Identities of the Plaintiffs

        15.     Plaintiff Thoughtworx, Inc. d/b/a MCM Services Group (“Thoughtworx”) is an

advertising company headquartered in Minnesota and organized under the laws of Minnesota.

Thoughtworx provides a bundle of services to its advertiser-clients, including consulting,

television advertisement development and research, and purchasing broadcast television spot

advertising time. In order to provide those services, Thoughtworx purchased broadcast television

spot advertising during the Class Period (defined infra) directly from Defendants Sinclair

Broadcast Group, Inc. and Tribune Media Company at prices that were supracompetitively

impacted as a result of the conduct alleged herein and has thereby suffered antitrust injury.

        16.     Plaintiff One Source Heating & Cooling, LLC (“One Source”) is a heating,

cooling, and HVAC services provider headquartered in Alabama and organized under the laws of

Alabama. One Source purchased broadcast television spot advertising during the Class Period

directly from Defendants Raycom Media, Inc. and Sinclair Broadcast Group, Inc. at prices that

were supracompetitively impacted as a result of the conduct alleged herein and has thereby

suffered antitrust injury.

        17.     A comprehensive accounting of those DMAs in which multiple Defendants

purportedly compete (as of 2017) and in which Thoughtworx and One Source purchased

broadcast television spot advertising from one or more Defendants in is set forth in Appendix A.

        B.      The Identities of the Defendants

        18.     Each of the Defendants named herein entered into consent decrees with the DOJ,


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except Gray Television, Inc., which purchased an entity (Raycom Media, Inc.) that did so.

        19.    Defendant Dreamcatcher Broadcasting, LLC (“Dreamcatcher”) is a Delaware

corporation, headquartered at 2016 Broadway, Santa Monica, California 90404, that owned three

full-power television stations in two television markets and had over $50 million in revenues in

2017.

        20.    Defendant Gray Television, Inc. (“Gray TV”),4 is a Georgia corporation

headquartered at 4370 Peachtree Road, NE, Suite 400, Atlanta, Georgia 30319, that owns and

operates television stations and digital assets in the United States. As of February 23, 2018, Gray

TV owned and operated television stations in 57 television markets, broadcasting approximately

200 program streams, including approximately 100 channels affiliated with the CBS Network,

the NBC Network, the ABC Network, and the FOX Network.

        21.    Defendant Griffin Communications, LLC (“Griffin”) is an Oklahoma corporation,

headquartered at 7401 North Kelley Avenue Oklahoma City, Oklahoma 73111, that owned four

full-power television stations in two television markets and had over $60 million in revenues in

2017.

        22.    Defendant Meredith Corporation (“Meredith”) is an Iowa corporation,

headquartered at 1716 Locust Street, Des Moines, Iowa 50309, that owned or operated 16

television stations in twelve television markets and had over $1.7 billion in revenues in 2017.

        23.    Defendant Nexstar Media Group, Inc. (“Nexstar”), is a Delaware corporation,

headquartered at 545 East John Carpenter Freeway, Suite 700, Irving, Texas 75062, that operates

as a television broadcasting and digital media company in the United States. As of December 31,




4
 Plaintiffs do not allege, at this time, that Gray TV participated in the alleged conduct directly;
merely that Gray TV is liable for the acts of Raycom Media, Inc., which it acquired.
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2017, the company owned, operated, programmed, or provided sales and other services to 170

television stations in 100 television markets.

       24.     Defendant Raycom Media, Inc. (“Raycom”) is a Delaware corporation,

headquartered at 201 Monroe Street, Montgomery, Alabama 36104, that owned or operated 65

television stations in 45 television markets and had over $670 million in revenues in 2017.

Raycom was purchased by Gray TV in 2018 for $3.65 billion in a deal that was finalized in

January of 2019.

       25.     Defendant Sinclair Broadcast Group, Inc. (“Sinclair”), is a Maryland corporation,

headquartered at 10706 Beaver Dam Road, Hunt Valley, Maryland 21030, that operates as a

television broadcast company in the United States. As of December 31, 2017, it owned, operated,

and/or provided services to 191 stations in 89 television markets, which broadcast 601 channels.

In 2017, it reported revenues in excess of $2.7 billion.

       26.     Defendant Tribune Broadcasting Company, LLC (“Tribune Broadcasting”), is a

Delaware limited liability company headquartered at 515 North State Street, Chicago, Illinois

60654, and operates as a media and entertainment company in the United States. It offers news,

entertainment, and sports programming through Tribune Broadcasting local television stations,

including FOX television affiliates, CW Network television affiliates, CBS television affiliates,

ABC television affiliates, MY television affiliates, NBC television affiliates, and independent

television stations; and television series and movies on WGN America, a national general

entertainment cable network. Tribune owned 42 broadcast television stations in approximately

33 television markets in 2017. It had over $670 million in revenues in 2017.

       27.     Defendant Tribune Media Company (“Tribune Media,” and collectively with

Tribune Broadcasting, “Tribune”), is a Delaware corporation headquartered at 435 North



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Michigan Avenue, Chicago, Illinois 60611, and operates, through its subsidiaries, as a media and

entertainment company in the United States. It offers news, entertainment, and sports

programming through Tribune Broadcasting local television stations, including FOX television

affiliates, CW Network television affiliates, CBS television affiliates, ABC television affiliates,

MY television affiliates, NBC television affiliates, and independent television stations; and

television series and movies on WGN America, a national general entertainment cable network.

Tribune owned 42 television stations in 33 television markets in 2017.

       C.      The Identities of Unnamed Agents and Co-Conspirators

       28.     Various persons and/or firms not named as Defendants herein may have

participated as co-conspirators in the violations alleged herein and may have performed acts and

made statements in furtherance thereof. Such additional co-conspirators include the two major

national Sales Rep Firms in the United States, which operate throughout the nation. These Sales

Rep Firms “function as extensions of a station’s sales staff and are familiar with various rate

cards (prices) and program research demographics.” And as the DOJ noted, these two Sales Rep

Firms facilitated the “exchange[ of] real-time pacing information” between Defendants.

       29.     One of the Sales Rep Firms is CoxReps, a division of the Cox Media Group. As

of March 2019, CoxReps represented 30 of Tribune’s owned and operated full-power television

stations, 33 Sinclair full-power television stations, 4 Griffin full-power stations, 12 Meredith

full-power stations, and 16 full-power Nexstar stations. CoxReps represented Raycom’s

television stations prior to the latter’s acquisition by Gray TV.

       30.     The second Sales Rep Firm is Katz Television Group (“Katz”), a division of the

Katz Media Group. As of March 2019, Katz represented 86 Nexstar owned and operated full-

power television stations, two Meredith full-power stations, 8 Tribune full-power stations, and


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66 Sinclair full-power television stations.

        31.    Katz and CoxReps are collectively referred to as the “Sales Rep Firms.”

V.      DEFENDANTS FORMED AND PARTICIPATED IN AN UNLAWFUL PRICE
        FIXING CARTEL FACILITATED BY AN INFORMATION EXCHANGE

        A.     Defendants Agreed to Fix Prices for Broadcast Television Spot Advertising
               Sales and That Agreement Was Facilitated by An Information Exchange

        32.    Beginning no later than January 1, 2014, the Defendants have participated in an

unlawful price fixing cartel to supracompetitively impact the price levels of broadcast television

spot advertising in geographies in which they were, purportedly, supposed to be direct

competitors.

        33.    Defendants price fixing cartel was facilitated in large part through a reciprocal

exchange of competitively sensitive information. 5 This exchange included (a) pacing

information as well as (b) other forms of competitively sensitive sales information.

        34.    As discussed above and below, merely exchanging competitively sensitive

information among competitors can cause anticompetitive effects and violate the Sherman Act.

               1.      Defendants Exchanged Competitively Sensitive Information Through
                       Sales Rep Firms and Directly With One Another

        35.    As revealed in the DOJ’s investigation and related court filings, this exchange of

competitively sensitive information took at least two forms.

        36.    First, Defendants regularly exchanged pacing information through the Sales Rep

Firms, including real-time pacing information regarding each station’s revenues, and reported the

information to the Defendants in the DMA.



5
  The DOJ defined “Competitively Sensitive Information” as “Non-Public Information relating
to pricing or pricing strategies, pacing, holding capacity, revenues, or market shares” as well as
“reports” that are “customized or confidential to a particular Station or broadcast television
station group.”
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        37.    Pacing information is used to compare a broadcast station’s revenues booked for a

certain time period to the revenues booked for the same point in time in the previous year. Pacing

indicates how each station is performing compared to the rest of the market and provides insight

into each station’s remaining broadcast television spot advertising inventory for the period.

Simply put, the exchange of pacing information reveals the Defendants’ remaining supply, with

supply being a, if not the, key factor informing negotiations over price.

        38.    Those exchanges included data on individual stations’ booked sales for current

and future months as well as a comparison to past periods. The exchanges covered not just

historic competitively sensitive information, but current and forward-looking information as

well.

        39.    Once the Sales Rep Firms shared the information with the Defendants, their

competitors’ pacing information was then disseminated to individuals with authority over pricing

and sales.

        40.    The exchanges by Sales Rep Firms were widespread, occurring in DMAs across

the United States, and they occurred with the knowledge of and frequently at the instruction of

Defendants. As of March 2019, CoxReps or Katz represented at least one Defendant in 89 of 90

DMAs where more than one Defendant was present and in 36 of those DMAs (identified in

Appendix A) CoxReps or Katz counted more than one Defendant as their client.

        41.    Second, in some DMAs, Defendants exchanged competitively sensitive

information directly with one another, without using the Sales Rep Firms as a conduit.

        42.    These direct inter-seller exchanges included both “local sales” pacing data as well

as “all sales” or “national sales” pacing data.

        43.    Further, the DOJ’s proposed final consent decrees list several types of



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competitively sensitive information that Defendants are prohibited from exchanging for seven

years: “pricing, pricing strategies, pacing, holding capacity, revenues, or market shares.”

       44.     Furthermore, the information shared (whether direct inter-seller exchanges or

exchanges through the Sales Rep Firms) was not made available to Plaintiffs and the members of

the Class and was not otherwise publicly available or accessible.

               2.      Such Systematic Exchanges of Non-Public Competitively Sensitive
                       Information Violate Section 1 of the Sherman Act

       45.     Defendants’ conduct amounts to an agreement—implicit or express—violative of

Section 1 of the Sherman Act.

       46.     Specifically, the DOJ stated that “[t]he exchanges were systematic and typically

included non-public pacing data on national revenues, local revenues, or both, depending on the

DMA. The Complaint further alleges that certain Defendants engaged in the exchange of other

forms of competitively sensitive information relating to spot advertising in certain DMAs.”

       47.     In its 2017 Annual Report, Sinclair stated that “fluctuations in advertising rates

and availability of inventory” was an “Industry Risk,” so clearly knowing its rival’s inventory

would illegally temper and mitigate that risk.

       48.     These exchanges, whether direct or through the Sales Rep Firms as conduits, also

violate the information exchange safe harbors enumerated by the Federal Trade Commission

(“FTC”) in 2014 and the DOJ in 2016.

                    a. First, those safe harbors dictate that the exchange consist of information

                       that is relatively old, while here, the exchanges were of real-time and

                       forward-looking information.

                    b. Second, those safe harbors dictate that the exchange of information be

                       operated by a neutral third party, while here, the exchanges were made


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                         directly between competitors and through interested Sales Rep Firms that

                         also stood to profit from the information exchange.

                    c. Third, those safe harbors dictate that the information exchange be of

                         aggregated data. Here, to the contrary, the exchange involved

                         disaggregated data specific to individual competitors.

        49.     A 2010 report prepared by the DOJ and submitted to the Organization for

Economic Cooperation and Development notes that: “In addition to serving as evidence of an

unlawful agreement, information exchanges likely to affect prices may, under certain

circumstances, be illegal in and of themselves.”

        50.     2010 Guidance from the DOJ also notes that information exchanges can “serv[e]

as evidence of an unlawful agreement” to fix prices, and also “be illegal in and of themselves,”

constituting “concerted action [] sufficient to establish a combination or conspiracy in violation

of Sherman Act § 1.”

        51.     2014 Guidance from the FTC confirms that when “competing companies seek

market intelligence by exchanging price or other commercially sensitive information, that may

facilitate collusion . . . in violation of the antitrust laws.”

        52.     Likewise, 2016 guidance from the DOJ confirms that “[e]ven if an individual

does not agree explicitly to fix [prices] or other terms [of sale], exchanging competitively

sensitive information could serve as evidence of an implicit illegal agreement.”

        53.     One academic notes that “[w]ith regard to firm-specific production information,

again there is no reasonable explanation for such a conveyance by a noncollusive seller to

another noncollusive seller. Unilateral knowledge of a rival’s capacity utilization, inventory

levels, or production costs will increase expected returns in any competitive bidding process.”



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       54.     In 2006, the Swedish Competition Authority commissioned several papers on the

economic effects of information sharing by competitors. These articles contain references to a

large number of scholarly publications. The introductory essay states: “information sharing is

most naturally defined as the sharing of such information that is normally regarded as

confidential: production costs, detailed information about quantities sold, actual transactions

prices (i.e., including individual discounts), planned future pricing, et cetera.” The introduction

also states that “if competitors secretively share information on intended future pricing and

output, this comes very close to actually making anti-competitive agreements.” Another article in

the same volume states: “[i]ndeed, in some circumstances it may be that the mere exchange of

information will in itself be sufficient to eliminate normal competitive activity. The overriding

principle is that certain forms of contact between competitors should be avoided.”

       55.     Another article by Baltzer Overgaard and H. Peter Mollgaard states that “it is

relatively well-established in the economics literature that horizontal coordination/collusion

(whether tacit or explicit) is made difficult—if not impossible—if firms compete under a veil of

ignorance concerning the actions of rivals. . . . Speedy access to accurate information about the

individual past transactions and future intentions of rivals will generally have a strong

coordinating potential.” The summary characterization of the research that is reviewed in this

article is as follows. “Pulling the two sides of the market together, we may (tentatively) conclude

that improved information flow on the firm side will likely enhance the scope for coordinated

firm behavior, while improved information on the consumer side may enhance competition. . . .

Ideally, antitrust practice should attempt to [promote a regime where] actual competitors are

covered by a veil of ignorance with respect to the actions of their rivals.”

       56.     The Antitrust Guidelines for Collaborations Among Competitors states:



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               Nevertheless, in some cases, the sharing of information related to a market
               in which the collaboration operates or in which the participants are actual
               or potential competitors may increase the likelihood of collusion on matters
               such as price, output, or other competitively sensitive variables. The
               competitive concern depends on the nature of the information shared. Other
               things being equal, the sharing of information related to price, output, costs,
               or strategic planning is more likely to raise competitive concern than the
               sharing of information relating to less competitively sensitive variables.
               Similarly, other things being equal, the sharing of information on current
               operating and future business plans is more likely to raise concerns than the
               sharing of historical information.

       57.     Nexstar’s own “Code of Business Conduct” acknowledged that there is an

unethical and improper way to gather competitively sensitive information: “Competitive

information is a valuable tool that allow us to understand and manage our markets, products, and

services so we can better meet our customers’ needs. However, we must gather and use that

information properly. It is important that we comply with the law in acquiring information. . . .

It is also important that we acquire information ethically.”

       58.     Implicit, as well as express, agreements are per se illegal under Section 1 of the

Sherman Act because “[s]ophisticated conspirators often reach their agreements as much by the

wink and the nod as by explicit agreement, and the implicit agreement may be far more potent,

and sinister, just by virtue of being implicit.” Meyer v. Kalanick, 174 F. Supp. 3d 817, 825

(S.D.N.Y. 2016); see also Kleen Prod. LLC v. Georgia-Pac. LLC, 910 F.3d 927, 936 (7th Cir.

2018) (“The task before any plaintiff is thus to find and produce evidence that reveals

coordination or agreement (even a wink and a nod—formal agreements have never been required

for purposes of Sherman Act section 1”).

       B.      The Department of Justice Investigation and Requirement for Injunctive
               Relief Underscore the Conclusion That the Defendants Violated Section 1 of
               the Sherman Act

       58.     Much of the conduct in the foregoing section was investigated by the DOJ in a



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probe that was first publicly reported in July of 2018.

       59.      On November 13, 2018 and December 13, 2018, the DOJ filed complaints, which

stated that “Defendants’ agreements are restraints of trade that are unlawful under Section 1 of

the Sherman Act.”

       60.      The DOJ also filed the Judgments and the Statement as to all Defendants except

for Gray TV (after these dates, Gray TV finalized its acquisition of Raycom, which was

implicated in the DOJ filings), for violating Section 1 through “concerted action between

horizontal competitors in the broadcast television spot advertising market,” describing the

offense as having had anticompetitive effects by “disrupting the normal mechanisms for

negotiating and setting prices and harming the competitive process,” and that the “offense [was]

likely to continue and recur unless the requested relief [was] granted.”

       61.      The Judgments mandate Defendants’ (and Gray TV, by virtue of its acquisition of

Raycom), conduct for seven years, wherein Defendants must:

             a. refrain from sharing competitively sensitive information directly or indirectly,

                including information on:

                            i. pricing;

                            ii. pricing strategies;

                           iii. pacing;

                           iv. holding capacity;

                            v. revenues; or

                           vi. market shares;

             b. establish antitrust whistleblower policies;

             c. designate Antitrust Compliance Officers responsible for implementing training



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                and compliance programs;

             d. cooperate in the ongoing DOJ investigation; and

             e. certify annual compliance with the Judgments’ terms and conditions.

       62.      The injunctive relief required by the DOJ extends to all DMAs in the United

States and is not limited to “certain” DMAs.

       63.      Both the November and December complaints refer to the conduct at issue as

“illegal” and “unlawful.”

       64.      The Statement referred to the injunctive relief requested in the Final Judgments as

“terminat[ing] Defendants’ illegal conduct, prevent[ing] recurrence of the same or similar

conduct, and ensur[ing] that Defendants establish an antitrust compliance program,” thereby

“putting a stop to the anticompetitive information sharing.” The DOJ concluded in the Statement

that this injunctive relief was “necessary in light of the extensive history of communications

among rival stations that facilitated Defendants’ agreements” in restraint of trade.

       65.      The Chief of the DOJ’s Antitrust Division, Assistant Attorney General Makan

Delrahim, elaborated: “The unlawful exchange of competitively sensitive information allowed

these television broadcast companies to disrupt the normal competitive process of spot

advertising in markets across the United States.”

       66.      The DOJ has been unequivocal, then, that the millions of pages of documents it

reviewed contained proof of a violation of Section 1 of the Sherman Act.

       C.       The Lack of Fines, Indictments, or Pleas is Immaterial

       67.      For several reasons, the fact that the DOJ declined to prosecute criminally does

nothing to undermine the plausibility of Plaintiffs’ price fixing claims under the per se standard.

       68.      First, both the 2016 DOJ and 2014 FTC guidance concludes that information


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exchanges are facilitating practices that can evidence a price fixing cartel. Likewise, the United

States delegation to the Organization for Economic Cooperation & Development’s Competition

Committee in 2010 stated that “[i]nformation exchanges can be treated as circumstantial

evidence of an unlawful price fixing or market allocation agreement among competitors, and in

such a case are analyzed under the per se rule.”

       69.     Second, the priorities of the DOJ vary annually and across administrations. The

DOJ’s own statistics show that it allocates its resources differently from year to year. In 2018

and 2019, the DOJ has only filed a combined 17 criminal antitrust complaints (6 of which relate

to legacy investigations initiated by the prior administration). In 2017, the DOJ filed only 17

criminal antitrust complaints.

       70.     Comparatively, the Antitrust Division of the DOJ filed aproximately: 50 criminal

complaints in 2008, 54 criminal complaints in 2009, 66 criminal complaints in 2010, 84 criminal

complaints in 2011, 52 criminal complaints in 2012, 59 criminal complaints in 2013, 54 criminal

complaints in 2014, 47 criminal complaints in 2015, and 32 criminal complaints in 2016.

       71.     No inference can be drawn as to the seriousness of the legal violation at issue here

from the lack of a parallel criminal prosecution; and this is particularly true in light of an

apparent DOJ resource shift resulting in fewer criminal antitrust prosecutions.

       72.     Moreover, the “fact that Defendants did not plead guilty to wide-ranging conduct

does not limit the civil action. Relatively few defendants plead guilty to all of the charges against

them, and limitations on government resources may play as much a role in the agreement as the

conduct involved.” In re Auto. Parts Antitrust Litig., No. 12-MD-02311, 2014 WL 4272784, at

*8 (E.D. Mich. Aug. 29, 2014); In re High Fructose Corn Syrup Antitrust Litig., 295 F.3d 651,

664–665 (7th Cir. 2002) (refusing to infer lack of a civil conspiracy from the government’s



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decision not to move against certain defendants, acknowledging that the DOJ may decide to limit

the scope of an investigation for numerous reasons, including differing standards of proof in a

criminal case and the knowledge that the private bar “had both the desire and the resources to

prosecute [the] suit”).

        73.    Third, the plausibility of Plaintiffs’ per se price fixing claim is bolstered by the

additional allegations in this action concerning economic evidence of cartel behavior (infra) and

the existence of numerous “plus factors” evincing a cartel (infra).

        D.     The Economic Evidence—Namely, Increased Prices and Skyrocketing
               Revenues in the Face of Declining Demand—Supports the Existence of a
               Cartel

        74.     The sale of broadcast television spot advertising on respective television stations

to advertising customers is a primary source of revenue for broadcasting companies, including

Defendants.6 The objective of the television station owner is to meet the needs of their

advertising customers by delivering to significant audiences in key demographics.

        75.    In a competitive market, one would expect horizontal competitors such as

Defendants to compete for audience share and advertising revenue with other stations in their

respective DMAs by competing on price. This is particularly true in a market facing disruption

and decreased demand. The broadcast television spot advertising market is such a market.

        76.     The broadcast television spot advertising market has been faced with rapid

change, as consumers’ media time continues to shift away from traditional sources and towards

digital and online mediums, such as Instagram, Netflix, Hulu, YouTube, and Facebook.

Broadcast television spot advertising has been grappling with ratings erosion and viewers



6
 Nexstar and Sinclair’s advertising revenues made up almost 50 percent of their total revenue in
2018. Tribune’s “television and entertainment” advertising revenue made up roughly 65 percent
of its total revenue in 2018.
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canceling television subscriptions in favor of, inter alia, streaming services, which, in a

competitive market, should drive prices, profits, and revenues down.

       77.     In a McKinsey 2015 Global Report, this was made clear: “Spending on media

continues to shift from traditional to digital products and services at a rapid pace. By 2019, we

believe digital spending will account for more than 50 percent of overall media spend. Within

this, the digital video spending will overtake physical spending by 2018, two years earlier than

we had previously forecast. Digital, consisting of Internet and mobile advertising, will become

the largest advertising category by 2017, surpassing TV one year earlier than forecast, and

mobile will more than double its share of the digital ad market.”

       78.     The number of persons who actually view television advertising has also been

dwindling. The McKinsey report also states that “[a]s digital media gains ground, advertisers are

increasingly accepting the validity and persuasiveness of advertising on these media, moving

away from the typically high cost-per-thousand (CPM) traditional media to less expensive, low-

CPM Internet and mobile advertising—further accelerating the shift of analog dollars to digital.”

Those who consume television advertising are also declining: the rise of “cord cutters” and “cord

nevers” continues to grow. In fact, eMarketer estimates that traditional television viewers will

drop 2.4 percent (or by roughly 5 million people) by the end of 2018, while the cord-cutter and

cord-never populations will grow by a total of 15 percent (or by almost 7 million people) this

year. This impacts where advertisers spend their dollars, and a decreased demand for television

advertising. Television’s command over the United States advertising revenues has given way to

digital, which is expected to bring in nearly half of all ad revenue in 2018.




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        79.     In light of these challenges, the broadcast television spot advertising market has

not responded to declining demand in the way one would expect a competitive market to

respond; instead, it exhibits indicia of cartel activity.




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       80.     As depicted in Figure 1, from 2008 to 2016, viewership for morning news, early

local evening news, and local late-night news has fallen 13 percent, 18 percent, and 29 percent,

respectively, while total Defendant revenue has increased in the face of this declining demand by

a staggering 65 percent over the same time period.

  Figure 1: Defendants’ Revenues Have Skyrocketed in the Face of Declining Viewership




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       81.     As depicted in Figure 2, the Defendants’ 65 percent gains in over the air (“OTA”)

revenue have outpaced the market as a whole, which lost 2 percent in revenue over that same

time period.

             Figure 2: Defendants’ Revenues Have Grossly Outpaced the Industry




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          82.   Figures 3.a, 3.b., and 3.c show that beginning in the first quarter of 2014 (the

beginning of the conduct period identified by the DOJ and the Class Period here), broadcast

television spot advertising price levels rose dramatically from their immediately preceding

years.7

                         Figure 3.a: Defendants’ Conduct Has Caused
                      Broadcast Television Spot Advertising Prices to Rise
                                         (Early News)




7
  Broadcast television spot advertising is priced on a cost per thousand (“CPM”) basis, which is
the cost for an advertisement per 1,000 viewers, or a cost per point (“CPP”) basis, which is the
cost to reach one percent of television households in a specified area.
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                  Figure 3.b: Defendants’ Conduct Has Caused
               Broadcast Television Spot Advertising Prices to Rise
                                  (Late News)




                                       24
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                  Figure 3.c: Defendants’ Conduct Has Caused
               Broadcast Television Spot Advertising Prices to Rise
                                  (Primetime)




                                       25
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        83.    Finally, Figure 4 shows a commensurate jump in Defendants’ revenues at the start

of the Class Period in 2014. This is not how a competitive market responds to declining

viewership and declining demand; these effects would only be expected in a cartelized market

not subject to normal competitive forces.

              Figure 4: Defendants’ Conduct Has Caused Their Revenues to Rise




VI.     DEFENDANTS EXCERCISED MARKET POWER AND THEIR CONDUCT
        HAD ANTICOMPETIVE EFFECTS IN A RELEVANT ANTITRUST MARKET

        84.    Defendants’ price fixing agreement is unlawful under the per se standard, while

the information exchange that facilitated the cartel is either unlawful per se, or alternatively is

unlawful under either a quick look8 or full-fledged rule of reason analysis.


8
  “Quick look” is an abbreviated version of the rule of reason analysis, where the Court does not
need to conduct analysis of the market and anticompetitive effects, but rather must only show a
form of market injury to the Plaintiffs and members of the Class.
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        85.    Under the per se standard, and additionally where, as here, there are demonstrable

anticompetitive effects, a relevant product and geographic market need not be defined.

        86.    Should a relevant product market need to be defined in this action, it is the sale of

broadcast television spot advertising on local television stations.

        87.    Should a geographic market need to be defined in this action, it is the specific

DMAs in which two or more Defendants purportedly compete.

        88.    The broadcast television spot advertising landscape in the United States is

comprised of parent companies like Defendants that own and operate dozens of television

stations. These stations carry programming distributed through their broadcast platforms,

provided by third-party networks and syndicators, news stations, their own networks, and other

original programming.

        89.    Industry analysts have recognized, inter alia, that broadcast television spot

advertising reaches more people than radio, e-mails, social media, and the Internet. Other forms

of advertising, such as targeted Internet advertisements, are insufficiently substitutable with

broadcast television spot advertising to constrain broadcast television spot advertising prices to

the competitive level.9

        90.    Broadcast television spot advertisements typically penetrate about ninety percent

of the households in a DMA, while cable television spot advertisements penetrate far fewer

homes. A significant and growing number of television households do not even subscribe to a

traditional cable provider, instead receiving broadcast television signals over the air for free.




9
  In a 2011 review of top traditional and online advertising agencies, 24 of the top 25 online
agencies did not offer television advertising services in-house and, similarly, 24 of the 25 top
traditional advertising agencies did not offer search advertising in-house. This implies that
clients for these two advertising verticals do not see the other as interchangeable.
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Even in households that do subscribe to cable television, the package they receive almost always

includes all broadcast channels but often excludes many cable channels. As a result, some cable

television spot advertisements cannot be seen even by households with cable.

       91.     Additionally, broadcast television spot advertisement is much more appealing

than cable television spot advertising, because most advertisers are looking to capture a wide

audience and broadcast programming has broader appeal to viewers. A broadcast spot reaches

more viewers with more ratings points than a single spot on a cable channel. Cable audiences are

fragmented across numerous stations that cater to niche populations, and thus advertisers looking

to reach a large share of a DMA cannot do so through cable spot advertisements.

       92.     Finally, broadcast stations have a larger advertising inventory than cable stations.

Due to the limited inventory and lower ratings associated with cable spot advertising, cable

providers cannot offer the same volume of ratings points or broad enough household penetration

to match broadcast television spot advertising.

       93.     Because of these factors, advertisers are not likely to respond to a small but

significant increase in the prices charged for broadcast television spot advertising in a given

DMA by switching to cable television spot advertising in large enough numbers to make that

price increase unprofitable. Accordingly, cable spot advertising is not a substitute for broadcast

television spot advertising.

       94.     On average, Defendant station owners held between 24 percent and 100 percent

market share in the multi-defendant DMAs listed in Appendix A (measured as of 2017 data, and

including Raycom’s, but not Gray TV’s, commerce).

       95.     Defendants’ conduct alleged herein has caused injury to Plaintiffs and the Class

members in the form of having paid overcharges (i.e., artificially inflated prices) for broadcast



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television spot advertising. This is injury of the type that the antitrust laws were meant to deter,

punish, and prevent. As shown in Figures 1 through 4, at the onset of the conduct period

identified by the DOJ (the start of the Class Period here), Defendants’ prices and revenues

exceed those of the non-colluding firms and spiked in the face of declining demand.

       96.     Moreover, the economic literature (discussed supra, in Section V.A.2) is clear

that the conduct and market outcomes observed here evince cartel behavior, lead to

anticompetitive harm, and cause a reduction in consumer welfare.

VII.   “PLUS FACTORS” FURTHER EVINCE THE EXISTENCE OF DEFENDANTS’
       PER SE UNLAWFUL PRICE FIXING CARTEL

       97.     Prominent legal and economic antitrust scholars studying collusive behavior have

developed the concept of “plus factors,” which are “economic actions and outcomes, above and

beyond parallel conduct by oligopolistic firms, that are largely inconsistent with unilateral

conduct but largely consistent with explicitly coordinated action.” They refer to the plus factors

that provide the most probative value and “those that lead to a strong inference of explicit

collusion as ‘super plus factors.’”

       98.     Here, plus factors plausibly inferring the existence of a per se illegal cartel

include: high market shares, high market concentration, opportunities and invitations to collude

at trade associations and otherwise, a motive to conspire, in particular, facing declining

viewership and revenue, and high barriers to entry.

       A.      Defendants’ Information Exchange is a “Super Plus Factor” Evincing the
               Existence of a Per Se Unlawful Price Fixing Cartel

       99.     One of the “super plus factors” academics enumerate addresses the reciprocal

sharing of firm-specific competitively sensitive information that would normally remain private

to each firm, or where: “A firm or subset of firms has knowledge of the details of another firm’s


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transactions, production, sales, and/or inventories where the latter firm would be competitively

disadvantaged by conveying that information unilaterally.”

       100.    A super plus factor plausibly inferring the existence of a per se illegal cartel

includes the information exchange detailed supra.

       B.      Defendants’ Motive to Conspire—Declining Viewership and Revenue—is a
               Plus Factor Supporting the Existence of a Price Fixing Cartel that is Per Se
               Unlawful

       101.    As discussed above, overall viewership and revenue have been falling for

broadcast television spot advertising. While the Defendants’ revenues have gone up

tremendously (as a result of their unlawful conduct), industry revenues overall are down, the

result of pressure from Internet and other media outlets.

       102.    Television viewership has declined in recent years. According to the Pew

Research Center, “[s]ince 2007, the average audience for late night newscasts has declined 31

percent, while morning audience declined 12 percent and early evening audience fell 19

percent.” In 2018, the Pew Research Center found that “the gap between the share of Americans

who get news online and those who do so on television is narrowing,” with only 50 percent of

United States adults regularly getting news from television in 2017, down from 57 percent in

2016. Typically, local news is the largest source of revenue for local broadcast affiliates,

comprising roughly 50 percent of total revenue. In 2016, advertising revenue for local “news-

producing stations” made up 84 percent of total advertising revenue for the industry overall.

       103.    Broadcast television spot advertising sales have begun to decline in the last

decade. In real terms, broadcast television spot advertising industry-wide revenue reached its

non-election year peak in 2011 at $16.2 billion (in 2008 dollars). It has declined every two years

since then to $14.9 billion in 2017 (again, expressed in 2008 dollars), a decline of 8.25 percent.


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The same pattern has held for election-years: in real terms, presidential election-year real local

television advertising spending fell from $20.0 billion in 2008 to $18.1 billion in 2012 to $17.6

billion in 2016, a total decline of 12.1 percent. And, for mid-term election years, real spending

fell by $1.9 billion dollars (4.9 percent) from $18. billion in 2010 to $17.4 billion in 2014.

       104.      BIA Advisory Services forecasts that local television station OTA advertising

revenues will grow slower than overall local advertising, predicting a 0.6 percent compound

annual growth rate (“CAGR”) from 2019 to 2023, outpaced by a forecasted CAGR of over 10

percent for local mobile video and over 15 percent for local online video. BIA Advisory Services

predicts that “by 2023, local online/interactive/digital advertising revenue will be $78.2 billion,

growing to nearly 48 percent of total local media advertising revenue from roughly a 37 percent

share in 2018.

       105.      “In a healthy economy, we’re looking at no growth in advertising from traditional

media companies,” said Michael Nathanson, an analyst with research firm MoffettNathanson.

“That’s a worrying trend.” The decline in television viewership is accelerating as online rivals

have increased their investments in the online video advertising market, capturing almost every

new advertising dollar entering the marketplace. Almost half of the growth in local video ad

spending during the next five years will go to digital platforms, including local mobile video,

local online video and out-of-home video, according to a 2017 study on advanced television

advertising published by BIA/Kelsey industry analysts. “Television ad sales have fallen even as

global advertising grows, leading research firms and analysts to predict that the business may

never recover.”

       106.      Declining viewership, coupled with a relatively fixed amount of available

broadcast television spot advertising time, should lead to lower prices and the lack of



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profitability that that entails. These factors provide a strong motivation for horizontal

competitors to form and maintain a cartel, particularly in this industry, where broadcast

television spot advertising makes up the majority of Defendants’ revenues.

       107.    For example, according to Sinclair’s most recent Form 10-K filed with the SEC, a

primary source of revenue for local television stations is “the sale of commercial inventory on . .

. television stations to . . . advertising customers.” However, Sinclair also concedes that

“advertising revenue can vary substantially from period to period based on many factors beyond

[its] control.” Furthermore, “[t]his volatility affects [its] operating results and may reduce [its]

ability to repay indebtedness or reduce the market value of [its] securities.” Sinclair specifically

admits that its “operating results depend on the amount of advertising revenue [it] generate[s].”

The key revenue function underscores the strong incentive to collude rather than compete,

which, as alleged above and below, Defendants acted upon.

       C.      Defendants’ Opportunities and Invitations to Collude are Plus Factors
               Supporting the Existence of a Price Fixing Cartel that is Per Se Unlawful

       108.    Further supporting the plausibility of the cartel were Defendants’ frequent

opportunities to, and apparent invitations to one another to, collude rather than compete.

               1.      Invitations and Opportunities to Collude Through the TIP Initiative

       109.    As one example, on November 20, 2017, a group of broadcast television

companies, including Nexstar, Sinclair, and Tribune, announced the launch of the TV Interface

Practices or “TIP” Initiative, described as “an industry work group dedicated to developing

standard-based interfaces to accelerate electronic advertising transactions for local TV

broadcasters and their media agency partners.” The TIP Initiative is intended to be national in

scope. It will provide for standardized automated transactions with customers for broadcast

television spot advertising that will enable Defendants to share competitively sensitive

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information. Nexstar’s President and CEO made a public statement regarding TIP indicating that

Defendants “must work together as an industry.” The President and CEO of Sinclair echoed this

sentiment stating that “[t]he TIP Initiative demonstrates the industry’s shared commitment to

working together” to grow their advertising sales. Tribune’s President and CEO also indicated

that through the TIP Initiative, Defendants could “actively work[] together.”

       110.    Through the TIP Initiative, Defendants thus signaled their invitation to the

industry to come together and collude rather than compete, and continue to disseminate

competitively sensitive information, in order to maintain industry profitability in the face of

declining demand.

               2.      Opportunities to Collude Through Joint Service Agreements

       111.    In addition, Defendants had numerous opportunities to meet and conspire with

each other under the guise of legitimate business contacts and to perform acts necessary for the

operation and furtherance of the cartel.

       112.    In particular, almost 300 full-power local television stations changed hands in

2013 and many of these deals resulted in stations in the same market being separately owned on

paper but operated jointly, a practice that has grown exponentially in recent years. As of 2014,

joint service agreements of one kind or another existed in at least 94 markets (almost half of the

210 local television DMAs throughout the country), and up from 55 in 2011. As of March 2019,

Defendants operated stations owned by different owners in approximately 66 DMAs.

       113.    Specifically, Sinclair admits that “[c]ertain of [its] stations have entered into

agreements with other stations in the same market, through which [it] provide[s] programming

and operating services[,] . . . sales services[,] and other non-programming operating services.”

               3.      Opportunities to Collude Through the TVB Trade Association

       114.    Additionally, Defendants and their co-conspirators had numerous opportunities to

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conspire through industry associations such as the Television Bureau of Advertising, Inc.

(“TVB”), the National Association of Broadcasters (“NAB”), and the Media Rating Council

(“MRC”), conferences and meetings held by those associations, and merger negotiations.

       115.    Nexstar, Sinclair, and Tribune are members of the TVB. Nexstar’s President and

CEO serves as the Chairman of TVB. TVB is a “not-for-profit trade association representing

America’s $21 billion local broadcast television industry.” The TVB is designed to bring

together and encourage information sharing among employees of broadcast television

companies, including Defendants, especially advertising sales representatives.

               4.      Opportunities to Collude Through the NAB Trade Association

       116.    Sinclair, Tribune, Meredith, and Nexstar are also members of the NAB, which

describes itself as the “premier trade association for broadcasters.”

       117.    Nexstar’s Chairman, President and CEO, Sinclair’s President and CEO, Tribune’s

COO, Meredith’s President, and Cox Media Group’s Executive Vice President of Television, all

serve on the NAB Television Board of Directors.

       118.    The President of Cox Media Group, owner of CoxReps, also serves on the NAB’s

Executive Committee. NAB hosts numerous meetings and other events for industry members

throughout the year, which are attended by Defendants’ executives.

               5.      Opportunities to Collude Through the MRC Trade Association

       119.    Nexstar, Sinclair, Tribune, and several other local television station owners are

also members of the MRC.

       120.    The MRC boasts that one of the “[b]enefits of MRC [m]embership” is that

“[m]embers are exposed to other members’ ideas and thoughts” and that “[m]embers can attend

formal education seminars” together.

       121.    These invitations and opportunities to collude served to bolster and facilitate the

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formation and maintenance of Defendants’ price fixing cartel.

       D.      Defendants’ High Market Shares and High Concentration in the Broadcast
               Television Spot Advertising Market are Plus Factors Supporting the
               Existence of a Price Fixing Cartel that is Per Se Unlawful

       122.    As shown in Appendix A and alleged above, in the DMAs in which Defendants

purportedly compete they consistently hold dominant shares of the market, averaging 53 percent,

as high as 100 percent, and never any lower than 24 percent. Sinclair is the largest broadcast

company in the nation, while Nexstar and Tribune are among the top five.

       123.    As of 2017, Defendants in total owned 332 full-power stations, up 125 percent

from 147 stations in 2008. Defendants in total own 504 revenue generating stations, up over 200

percent from 158 stations in 2008. As discussed in more detail infra, a wave of consolidation and

station purchases has made some broadcast media owners considerably larger.

       124.    A highly concentrated market is more susceptible to collusion and other

anticompetitive practices than less concentrated markets.

       125.    In response to decreased advertisement spending, the local television industry has

been consolidating in recent years. This consolidation of the industry continues “as station

owners look to increase their leverage with broadcast networks, which supply much of their

programming, and pay-TV distributors, which carry their channels.” In 2013, “big owners of

local TV stations got substantially bigger, thanks to a wave of station purchases.” That wave is

reflected in the following chart taken from a 2013 report by the Pew Research Center:




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    126.   As the Pew report states:

           Many of the 290 TV station purchases in 2013 occurred as group
           acquisitions by some of the largest owners, building their portfolios
           of stations even more. The Tribune Co. emerged from bankruptcy
           to make the richest single deal, spending $2.73 billion to acquire 19
           stations from Local TV Holdings. Gannett completed a $2.2 billion
           transaction to buy 17 stations from Belo Corp., almost doubling
           Gannett’s TV holdings and giving it national reach. Twelve stations
           changed hands when Media General merged with New Young
           Broadcasting.

           Sinclair Broadcasting acquired more individual stations than any
           other buyer, snapping up outlets owned by locally based companies
           like Fisher Communications in Seattle and Allbritton
           Communications in Washington, D.C. The company already owned
           the most local stations of any group; if all pending sales go through,
           Sinclair will own or provide services to 167 television stations in 77
           markets, reaching almost 40 percent of the United States population.
           Nexstar Broadcasting made moves to increase its portfolio to 108
           stations in 56 markets. In 37 of those markets, it will own or provides
           services to more than one station. Nexstar’s chief executive, Perry
           Sook, predicted the “rolling M&A thunder" would continue
           throughout 2014, and it has. In March, Media General announced
           plans to buy LIN Media's 43 stations for $1.6 billion.

    127.   Consolidation in the industry was also fueled by the proposed acquisition of


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Tribune by Sinclair, announced on May 8, 2017, which would have created the largest station

owner. Wary of Federal Communications Commission (“FCC”) rejection of the deal, Sinclair

and Tribune submitted a revised version of the merger plan to antitrust regulators, whereby

Sinclair would acquire Tribune for $3.9 billion, forming a company that would own 215

broadcast television stations in 102 cities, reaching close to 60 percent of all United States

television households. Sinclair and Tribune jointly have extreme market penetration, with

Tribune currently reaching 43 percent of the nation’s households and Sinclair reaching 38

percent of American homes.

        128.   Indeed, analysts called the proposed merger between Sinclair and Tribune “a very

transformative acquisition” that would create “a broadcaster with as close to a national footprint

as you can get.” Sinclair’s Chief Executive Officer (“CEO”), Chris Ripley, echoed this belief,

stating the combined company would reach “72 percent of United States homes across 108

markets including 39 of the top 50” and “[t]his combination creates the largest TV broadcasting

company in the country.”

        129.   The revised merger plan could only be accomplished by selling certain television

stations to reduce the number of households jointly reached by Tribune and Sinclair (which

currently is over 80 percent). However, Sinclair’s revised plan called for selling certain stations

to friends and other parties with whom it has a business relationship, for significantly less than

fair value, raising questions about whether Sinclair would actually continue to control these

stations.

        130.   The FCC expressed concerns that Sinclair did not intend to actually relinquish

control over television stations that it proposed to divest in order to comply with the National TV

Ownership rule, and that Sinclair had been less than candid with the FCC. Indeed, the FCC



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suspected that certain “‘sidecar agreements’ [ ] would allow Sinclair to retain control of stations

without owning them.” According to FCC Commissioner Michael O’Reilly, the vote to send the

merger to an administrative law judge was a “de facto merger death sentence.”

        131.   The failure of the Sinclair-Tribune merger led Nexstar to announce its intention to

acquire Tribune for over $4 billion in December of 2018. As one article noted:

               The deal would make Nexstar, whose stations reach nearly 39
               percent of all United States television households, the biggest
               operator of local TV stations in the United States.

                ****

               Tribune Media owns or operates 42 local TV stations that reach 50
               million households, as well as the national network WGN. It also
               has a stake in the TV Food Network.

               Nexstar is the second-largest television station owner in the United
               States, with 171 outlets across the country, typically operating as
               affiliates with the four “major” United States television networks in
               small to mid-size markets. It also operates through local marketing
               agreement the stations owned by affiliate company Mission
               Broadcasting.

        132.   Similarly, on June 25, 2018, as noted above, Gray TV agreed to buy Raycom in a

$3.65 billion deal that would create a company that reaches nearly a quarter of United States

television households. The combined company owns 142 television stations in 92 United States

markets, reaching 24 percent of television households and owning the third-largest number

stations.




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       133.    Herfindahl-Hirschman Index (“HHI”) calculations further reveal industry

concentration. HHI is a tool commonly employed in antitrust economics to measure market

concentration. It is calculated by squaring the market share of each firm competing in a market

and then summing the resulting numbers. Here, the average HHI across the DMAs in which two

or more Defendants compete is 2,543 when considering ownership of stations and 2,713 when

considering operation of stations, some of which station operators do not own.

       134.    The DOJ considers an HHI measure above 2,500 to be a highly concentrated

marketplace.

       E.      High Barriers to Entry in the Broadcast Television Spot Advertising Market
               is a Plus Factor Supporting the Existence of a Price Fixing Cartel That is Per
               Se Unlawful

       135.    A collusive arrangement that raises product prices above competitive levels,

under basic economic principles, would normally tend to attract new entrants seeking to benefit

from the supracompetitive pricing, which in turn could erode prices. But there are significant,

even prohibitive, barriers to entry in the spot television broadcasting market that prevent entry

from eroding collusively increased profits. Thus, barriers to entry help facilitate the formation

and maintenance of cartels and market-allocation agreements.
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        136.    New entrants planning to enter into broadcasting markets typically face six

critical barriers: (1) governmental policy; (2) the presence of dominant broadcasters; (3) access

to content; (4) audience behavior; (5) consumer costs; and (6) capital requirements.

        137.    Governmental policy, including regulatory or administrative practices, may

restrict market access. The FCC issues licenses for television stations, and an entrant would be

required to petition the Commission to assign a new channel to a community. Moreover, the

FCC is not accepting any applications for new full power or television or LPTV stations until the

current spectrum repacking process is complete, which is not expected to happen until July 2020.

        138.    Responsible authorities take into account economic, as well as cultural and social,

factors when issuing broadcasting licenses that may lead to distortions of competition.

        139.    The existing dominant broadcasters usually have long-established relationships

with their viewers and (most likely) also with advertisers. New entrants in the market would have

to offer a better deal than the existing broadcasters in order to usurp any market share.

Additionally, bigger companies have more clout to negotiate programming deals with networks

or syndicators. “If you wanted a decent seat at the table talking to those guys, you had to have

scale,” said Barry Lucas, Senior Vice-President of Research at the investment firm Gabelli & Co.

“Otherwise you were irrelevant and got pushed around.” A newer entrant to the market would

have to invest significant capital and time in establishing itself before it could work with

networks.

        140.    Additionally, successful entry into television broadcasting markets requires access

at reasonable prices to desirable programming, including production and/or acquisition from

third parties. Acquisition of this content, which is critical to attract viewers, is likely to constitute

a significant cost to new market players.



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        141.    Commercial broadcasters, whose operations are primarily financed through

advertising fees, must establish within a short period an audience base that will also attract a

sufficient number of advertisers. Therefore, in the presence of established dominant broadcasters,

new entrants must provide offers attractive enough to convince viewers to alter their already

existing patterns of viewing and channel choice—a task that proves to be difficult.

        142.    Finally, it would require considerable funding, time, and technical sophistication

for a potential market entrant to gain the economies of scale and audience base achieved by

Defendants necessary to compete in the market for broadcast television spot advertising. Where

the level of capital required is prohibitively high, it constitutes a significant barrier to entry.

        143.    For these reasons, there has not been meaningful recent entry into the industry.

Of the major local broadcast station owners, Nexstar and Raycom (recently acquired by Gray

TV), are the most recent to enter the industry, both in 1996. Many of the large station owners

have been in the industry since the 1940s and 1950s, including Tribune, Meredith, and Griffin.

VIII. DEFENDANTS FRAUDULENTLY CONCEALED THEIR CONDUCT
      THROUGH, INTER ALIA, PUBLIC STATEMENTS IN SECURITIES FILINGS
      THAT THEY AND THE MARKET WERE FUNCTIONING COMPETIVELY

        144.    Any applicable statute of limitations has been tolled by Defendants’ knowing and

active concealment of their unlawful conduct. Throughout the Class Period, Defendants

affirmatively and fraudulently concealed their unlawful and anticompetitive conduct.

        145.    Plaintiffs and the Class members did not discover, nor could they have discovered

through the exercise of reasonable diligence, the existence of the conduct alleged herein prior to

disclosure of a DOJ investigation of certain Defendants on July 26, 2018.

        146.    Further, the very nature of Defendants’ conduct was secret and self-concealing.

Defendants engaged in secret market manipulation that could not be detected by Plaintiffs and



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the Class.

       147.    Throughout the Class Period, each of the publicly-traded Defendants made

various representations in filings with the Securities and Exchange Commission (“SEC”) that

describe a competitive landscape in which they purport to vie for advertising revenue not only

with other spot television broadcast companies, but also with numerous other entities.

       148.    For example, in its Form 10-K Annual Report filed with the SEC in June 2015,

Meredith stated that its “television stations compete directly for advertising dollars and

programming in their respective markets with other local television stations, radio stations, cable

television providers, and digital websites and mobile sites.”

       149.    Sinclair consistently claimed in its Form 10-K Annual Reports that its “television

stations are located in highly competitive DMAs,” while Tribune consistently listed among its

main competitors the major networks and the “major broadcast television station owners,”

including Nexstar and Sinclair.” Nexstar made similar statements in its Form 10-K Annual

Reports throughout the Class Period.

       150.    Such representations by Defendants were intentionally misleading and concealed

the unlawful anticompetitive activity described herein from Class members.

       151.    Additionally, Defendants had corporate codes of conduct that members of the

Class reasonably relied on to assume that they were complying with federal antitrust laws.

       152.    For example, Sinclair has a publicly-posted “Code of Business Conduct and

Ethics” that states that “Officers, directors and employees must comply with all laws, rules and

regulations applicable to them or the Corporation, including, without limitation, . . . antitrust

laws[.]”

       153.    Nexstar likewise has a public “Code of Business Conduct” that states:



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                All employees must comply fully with the laws and regulations that
                apply to the Company. When the application of such laws or
                regulations is uncertain, employees are urged to seek the guidance
                and advice of the General Manager or Chief Financial Officer.
                Employees are expected to recognize this duty to society above and
                beyond their obligations to the Company and their personal financial
                interests. While the Company must compete vigorously to maximize
                profits, Nexstar will at the same time do so in strict compliance with
                all laws and regulations applicable to our activities. No employee
                should at any time take any action on behalf of the Company, which
                is known or should be known to violate any applicable law or
                regulation.

        154.    Tribune has an extensive “Code of Ethics and Business Conduct” that spells out

its obligations under the antitrust laws in great detail:

                We believe in free and open competition and never engage in
                improper practices that may limit competition and we never look to
                gain competitive advantages through unethical or illegal business
                practices, but rather through superior performance.

                We do not enter into agreements with competitors to engage in any
                anti-competitive behavior, including setting prices or dividing up
                customers, suppliers or markets.

                ****

                Also, anti-trust and fair competition laws are complex and
                compliance requirements can vary depending on the circumstance,
                but in general, the following activities are red flags and should be
                avoided and reported to your supervisor, the Human Resources
                Department, the Law Department or Internal Audit:

                COLLUSION — when companies secretly communicate or agree
                on how they will compete. This could include agreements or
                exchanges of information on pricing, terms, wages, or allocations of
                markets.

        155.    Nexstar maintains a “Code of Ethics,” which was originally filed with the SEC on

March 31, 2004 by Nexstar Broadcasting Group, Inc. and incorporated as an exhibit to Nexstar’s

Annual Report for the year ending December 31, 2003 on Form 10-K. The “Code of Ethics”

states, “Each Relevant Officer owes a duty to the Company to act with integrity. . . . Specifically,


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each Relevant Officer must: . . . . Adhere to a high standard of business ethics and not seek

competitive advantage through unlawful or unethical business practices.”

         156.    And Meredith has a “Code of Business Conduct and Ethics” that states:

                 Obeying the law, both in letter and in spirit, is the foundation on
                 which the Company’s ethical standards are built. All employees
                 must respect and obey the laws of the cities, states, and countries in
                 which we operate. Although not all employees are expected to know
                 the details of these laws, it is important to know enough to determine
                 when to seek advice from supervisors, managers, or other
                 appropriate personnel.

                 We do not condone any act that violates the law, even when such
                 action appears to be in the Company's best interest.

         157.    These statements have now been demonstrated to be materially misleading; they

suggest that Defendants were law-abiding companies that recognized their antitrust obligations

and that Defendants and the broadcast television spot advertising market were functioning

competitively.

         158.    As a result of Defendants’ fraudulent concealment, all applicable statutes of

limitations affecting the Plaintiffs’ and the Class members’ claims have been tolled.

IX.      CLASS CERTIFICATION IS APPROPRIATE HERE

         159.    Plaintiffs bring this action on behalf of themselves and as a class action under

Rule 23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure on behalf of the following

Class:

                 All persons and entities in the United States who purchased
                 broadcast television spot advertising from one or more Defendants
                 in a DMA within which two or more of the Defendants sold
                 broadcast television spot advertisements on broadcast television
                 stations and who paid one or more Defendants directly for all or a
                 portion of the cost of such broadcast television spot advertisements,
                 or any current or former subsidiary or affiliate of Defendants during
                 the period from at least and including January 1, 2014 until the
                 effects of the unlawful conduct are adjudged to have ceased (the


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                “Class Period”).10

         160.   While Plaintiffs do not know the exact number of members of the Class, Plaintiffs

believe the class size is numerous, and likely includes hundreds if not thousands of members.

         161.   Common questions of law and fact exist as to all members of the Class. This is

particularly true given the nature of Defendants’ unlawful anticompetitive conduct, which

focuses on the conduct of Defendants, not of any particular class member, and was generally

applicable to all the members of the Class, thereby making appropriate relief with respect to the

Class as a whole. Such questions of law and fact common to the Class include, but are not

limited to:

                   ▪   Whether Defendants and their co-conspirators engaged in a

                       combination and conspiracy to to fix, raise, maintain or stabilize

                       the price levels of broadcast television spot advertising time, that is

                       per se illegal;

                   ▪   The identity of the participants of the alleged cartel;

                   ▪   The duration of the alleged cartel, and the acts carried out by

                       Defendants and their co-conspirators in furtherance of the cartel;

                   ▪   Whether the conduct alleged herein violated Section 1 of the

                       Sherman Act; and

                   ▪   Whether the conduct alleged herein caused damages to the

                       members of the Class in the form of overcharges paid for broadcast


10
  Excluded from the Class are Defendants and Sales Rep Firms, their parent companies,
subsidiaries, affiliates, officers, directors, employees, assigns, successors, agents, or co-
conspirators; the court, court staff, defense counsel, all respective immediate family members of
these excluded entities, federal governmental entities and instrumentalities of the federal
government, and states and their subdivisions, agencies and instrumentalities.

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                       television spot advertising and the proper measure of such

                       overcharge damages.

       162.    Plaintiffs’ claims are typical of the claims of the members of the Class, and

Plaintiffs will fairly and adequately protect the interests of the Class. Plaintiffs and all members

of the Class are similarly affected by Defendants’ unlawful conduct in that they paid artificially

inflated prices for broadcast television spot advertising time provided by Defendants.

       163.    Plaintiffs’ claims arise out of the same common course of conduct giving rise to

the claims of the other members of the Class. Plaintiffs’ interests are coincident with and typical

of, and not antagonistic to, those of the other members of the Class.

       164.    Plaintiffs have retained counsel with substantial experience litigating complex

antitrust class actions in myriad industries and courts throughout the nation.

       165.    The questions of law and fact common to the members of the Class predominate

over any questions affecting only individual members, including issues relating to liability and

damages.

       166.    Class action treatment is a superior method for the fair and efficient adjudication

of the controversy, in that, among other things, such treatment will permit a large number of

similarly situated persons to prosecute their common claims in a single forum simultaneously,

efficiently and without the unnecessary duplication of evidence, effort and expense that

numerous individual actions would engender. The benefits of proceeding through the class

mechanism, including providing injured persons or entities with a method for obtaining redress

for claims that it might not be practicable to pursue individually, substantially outweigh any

difficulties that may arise in management of this class action. Moreover, the prosecution of

separate actions by individual members of the Class would create a risk of inconsistent or



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varying adjudications, establishing incompatible standards of conduct for Defendants.

       167.    Plaintiffs know of no difficulty likely to be encountered in the maintenance of this

action as a class action under Federal Rule of Civil Procedure 23.

                                          COUNT ONE
                                   Price Fixing in Violation of
                          Section 1 of the Sherman Act (15 U.S.C. § 1)

       168.    Plaintiffs repeat the allegations set forth above as if fully set forth herein.

       169.    During the Class Period, Defendants entered into and engaged in a contract,

combination, or conspiracy with regards to broadcast television spot advertising in unreasonable

restraint of trade in violation of Section 1 of the Sherman Act (15 U.S.C. § 1).

       170.    The contract, combination or conspiracy consisted of an agreement among the

Defendants to fix, raise, stabilize or maintain at artificially high levels the prices they charged for

broadcast television spot advertising in the United States.

       171.    Plaintiffs and members of the Class have been injured and will continue to be

injured in the form of overcharge damages paid for broadcast television spot advertising time

purchased from Defendants and their co-conspirators.

       172.    This conduct is unlawful under the per se standard.

       173.    Plaintiffs and members of the Class are entitled to treble damages, their attorneys’

fee and costs, and an injunction against Defendants restraining the violations alleged herein.

                                         COUNT TWO
                             Information Exchange in Violation of
                          Section 1 of the Sherman Act (15 U.S.C. § 1)

       174.    Plaintiffs repeat the allegations set forth above as if fully set forth herein.

       175.    During the Class Period, Defendants entered into and engaged in a contract,

combination, or conspiracy with regards to broadcast television spot advertising in unreasonable



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restraint of trade in violation of Section 1 of the Sherman Act (15 U.S.C. § 1).

       176.    The contract, combination or conspiracy involved the exchange of competitively

sensitive information between and among Defendants, causing anticompetitive effects without

sufficient procompetitive justifications.

       177.    Plaintiffs and members of the Class have been injured and will continue to be

injured in the form of overcharge damages paid for broadcast television spot advertising time

purchased from Defendants and their co-conspirators.

       178.    This conduct is unlawful under the per se standard or alternatively under a quick

look or full-fledged rule of reason mode of analysis.

       179.    As described above, the relevant product market affected adversely by the

challenged conduct is the market for broadcast television spot advertising and the relevant

geographic market is those DMAs where two or more Defendants compete, markets where

Defendants collectively have significant market power.

       180.    Plaintiffs and members of the Class are entitled to treble damages, their attorneys’

fee and costs, and an injunction against Defendants restraining the violations alleged herein.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs and the Class respectfully request that:

       A.      The Court determine that this action may be maintained as a class action

under Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure;

       B.      The Court adjudge and decree that the acts of the Defendants are illegal and

unlawful, including the agreement, contract, combination, or conspiracy, and acts done in

furtherance thereof by Defendants and their co-conspirators be adjudged to have been a per se

violation (or alternatively illegal under a quick look or full-fledged rule of reason violation) of


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Section 1 of the Sherman Act (15 U.S.C. § 1);

        C.      The Court permanently enjoin and restrain Defendants, their affiliates, successors,

transferees, assignees, and other officers, directors, agents, and employees thereof, and all other

persons acting or claiming to act on their behalf, from in any manner continuing, maintaining, or

renewing the conduct, contract, conspiracy, or combination alleged herein, or from entering into

any other contract, conspiracy, or combination having a similar purpose or effect, and from

adopting or following any practice, plan, program, or device having a similar purpose or effect;

        D.      Judgment be entered against Defendants, jointly and severally, and in favor of

Plaintiffs and members of the Class for treble the amount of damages sustained by Plaintiffs and

the Class as allowed by law, together with costs of the action, including reasonable attorneys’

fees, pre- and post-judgment interest at the highest legal rate from and after the date of service

of this Complaint to the extent provided by law;

        E.      The Court award Plaintiffs and members of the Class such other and further relief

as the case may require and the Court may deem just and proper under the circumstances.

                                        JURY DEMAND

        Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure, of all issues so triable.

Dated: April 3, 2019                          Respectfully submitted,

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                                    **Pro Hac Vice application forthcoming.




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                                                      Appendix A
                                DMAs with Multiple Defendants Present
No.          DMA                 Defendants Present       Plaintiffs        Owned      Operated    Owned      Operated
                                                         Purchased in       Stations    Stations   Stations   Stations
                                                          the DMA           Market      Market       HHI        HHI
                                                         During Class      Share (%)   Share (%)
                                                           Period
  1. Abilene-Sweetwater,     -Nexstar                                         79          94        3,392      4,602
     TX***                   -Sinclair Broadcast Group

  2. Albany, GA              -Gray (formerly Raycom)           X              86          86        5,407      5,476
                             -Sinclair                   (from Sinclair)
  3. Albany-Schenectady-     -Nexstar                          X              62          72        2,732      3,377
     Troy, NY                -Sinclair                   (from Sinclair)
  4. Amarillo, TX            -Gray (formerly Raycom)           X              89         100        2,885      3,445
                             -Nexstar                    (from Sinclair)
                             -Sinclair
  5. Augusta-Aiken, GA       -Gray (formerly Raycom)                          56          56        3,695      3,695
                             -Nexstar
  6. Austin, TX              -Nexstar                                         48          53        2,057      2,389
                             -Sinclair
  7. Bakersfield, CA***      -Nexstar                          X              66          66        2,771      2,771
                             -Sinclair                   (from Sinclair)
  8. Baton Rouge, LA         -Gray (formerly Raycom)                          57          69        3,067      3,377
                             -Nexstar
   9. Birmingham (Anniston   -Sinclair                         X              79          79        2,661      2,661
      and Tuscaloosa),       -Gray (formerly Raycom)     (from Sinclair)
      AL***                  -Nexstar
  10. Boise, ID              -Gray (formerly Raycom)           X              35          35        2,616      2,616
                             -Sinclair                   (from Sinclair)
  11. Buffalo, NY***         -Nexstar                          X              49          49        2,544      2,544
                             -Sinclair                   (from Sinclair)
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12. Champaign/Springfield- -Nexstar                        X           54        70         2,635   3,396
    Decatur, IL            -Sinclair                 (from Sinclair)
13. Charleston, SC         -Gray (formerly Raycom)                     83        99         2,651   3,423
                           -Nexstar
                           -Sinclair
14. Charleston-Huntington, -Sinclair                       X           30        40         3,941   4,295
    WV***                  -Nexstar                  (from Sinclair)
15. Cincinnati, OH         -Gray (formerly Raycom)         X           46        57         2,099   2,707
                           -Sinclair                 (from Sinclair)
16. Cleveland-Akron        -Gray (formerly Raycom)         X           45        45         2,197   2,197
    (Canton), OH           -Tribune                  (from Tribune)
17. Columbia, SC           -Gray (formerly Raycom)         X           56        56         2,562   2,562
                           -Sinclair                 (from Sinclair)
18. Columbus, GA           -Gray (formerly Raycom)                     69        69         2,888   2,888
    (Opelika, GA)          -Nexstar
19. Columbus-Chillcothe,   -Nexstar                        X           42        65         2,462   3,577
    OH                     -Sinclair                 (from Sinclair)
20. Davenport, IA          -Nexstar                                    44        55         3,270   3,565
    Rock Island-Moline, IL -Tribune
    ***
21. Dayton, OH             -Nexstar                        X           30        44         3,251   3,568
                           -Sinclair                 (from Sinclair)
22. Des Moines-Ames,       -Nexstar                        X           57        57         3,170   3,170
    IA***                  -Sinclair                 (from Sinclair)
                           -Tribune
23. Dothan, AL             -Gray (formerly Raycom)         X           35        35         4,866   4,866
                           -Nexstar                  (from Raycom)
24. El Paso-Las Cruces,    -Nexstar                        X           52        52         2,335   2,335
    TX/NM***               -Sinclair                 (from Sinclair)
25. Evansville, IN         -Gray (formerly Raycom)                     70        81         2,888   3,645
                           -Nexstar
26. Flint-Saginaw-Bay      -Meredith                       X           64        67         3,148   3,321
    City, MI               -Sinclair                 (from Sinclair)

27. Fresno-Visalia, CA     -Nexstar                        X           51        51         2,163   2,163
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                              -Sinclair                 (from Sinclair)
28. Ft. Smith-Fayetteville-   -Nexstar                                    60       71         2,951   3,353
    Springdale-Rogers,        -Tribune
    AR***
29. Grand Rapids-             -Nexstar                        X           81       81         2,529   2,529
    Kalamazoo-Battle          -Sinclair                 (from Sinclair
    Creek, MI***              -Tribune                   and Tribune)
30. Green Bay-Appleton,       -Nexstar                        X           53       53         2,825   2,825
    WI                        -Sinclair                 (from Sinclair)
31. Greensboro-High Point-    -Sinclair                       X           37       37         2,402   2,646
    Winston-Salem, NC         -Tribune                  (from Sinclair
                                                         and Tribune)

32. Greenville-New Bern-      -Nexstar                        X           89       89         2,890   2,890
    Washington, NC***         -Sinclair                 (from Sinclair)
                              -Gray (formerly Raycom)
33. Greenville-               -Meredith                       X           65       70         2,357   2,587
    Spartanburg-Asheville-    -Sinclair**               (from Sinclair)
    Anderson, SC/NC***        -Nexstar
34. Harlingen-Weslaco-        -Nexstar                        X           24       24         1,991   1,991
    Brownsville-McAllen,      -Sinclair                 (from Sinclair)
    TX ***
35. Harrisburg-Lancaster-     -Nexstar                                    62       62         2,507   2,546
    Lebanon-York, PA***       -Sinclair
                              -Tribune
36. Hartford-New Haven,       -Meredith                       X           73       73         2,321   2,321
    CT***                     -Nexstar                  (from Tribune)
                              -Tribune
37. Hattiesburg-Laurel, MS    -Gray (formerly Raycom)                     90       90         5,747   5,747
                              -Nexstar
38. Honolulu, HI              -Nexstar                                    71       78         2,892   3,349
                              -Gray (formerly Raycom)
39. Huntsville-Decatur-       -Gray (formerly Raycom)                     80       83         2,691   2,756
    Florence, AL ***          -Nexstar
                              -Tribune
40. Indianapolis, IN          -Nexstar                        X           43       43         2,573   2,573
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                              -Tribune                  (from Tribune)
41. Jackson, MS               -Gray (formerly Raycom)                     58        58         2,457   2,542
                              -Nexstar
42. Johnstown-Altoona-        -Sinclair                       X           79        79         3,328   3,328
    State College, PA         -Nexstar                  (from Sinclair)

43. Kansas City, MO***        -Meredith                       X           48        48         2,413   2,413
                              -Tribune                  (from Tribune)
44. Knoxville, TN             -Gray (formerly Raycom)                     32        32         2,791   2,791
                              -Nexstar
45. Las Vegas, NV***          -Meredith                       X           68        68         2,004   2,004
                              -Nexstar                  (from Sinclair)
                              -Sinclair
46. Little Rock-Pine Bluff,   -Nexstar                        X           65        79         2,648   3,605
    AR***                     -Sinclair                 (from Sinclair)

47. Lubbock, TX               -Gray (formerly Raycom)                     64        79         2,648   3,554
                              -Nexstar
48. Memphis, TN               -Gray (formerly Raycom)                     71        71         2,548   2,548
                              -Nexstar
                              -Tribune
49. Milwaukee, WI ***         -Sinclair                       X           27        27         2,218   2,218
                              -Tribune                  (from Sinclair)
50. Mobile-Pensacola (Ft.     -Meredith                       X           98        98         3,579   3,579
    Walton Beach), FL***      -Nexstar                  (from Sinclair)
                              -Sinclair
51. Myrtle Beach-Florence,    -Sinclair                       X           80        86         2,691   2,961
    SC                        -Gray (formerly Raycom)   (from Sinclair)
                              -Nexstar
52. Nashville, TN***          -Meredith                       X           63        66         2,393   2,505
                              -Nexstar                  (from Sinclair)
                              -Sinclair
53. New Orleans, LA           -Gray (formerly Raycom)         X           45        45         2,430   2,430
                              -Tribune                  (from Tribune)
54. Norfolk-Portsmouth-        Dreamcatcher*                  X           79        79         3,203   3,203
    Newport News, VA          -Nexstar                  (from Sinclair)
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                            -Tribune**
                            -Sinclair
55. Odessa-Midland, TX      -Nexstar                                    50         50         2,563   2,563
                            -Gray (formerly Raycom)
56. Oklahoma City, OK       -Griffin                        X           75         75         2,470   2,470
    ***                     -Sinclair                 (from Sinclair
                            -Tribune                   and Tribune)
57. Paducah-Cape            -Gray (formerly Raycom)         X           46         46         2,932   2,932
    Girardeau-Harrisburg,   -Sinclair                 (from Sinclair)
    MO
58. Panama City, FL         -Gray (formerly Raycom)                     45         45         3,070   4,220
                            -Nexstar
59. Peoria-Bloomington,     -Nexstar                        X           38         44         3,944   4,301
    IL***                   -Sinclair                 (from Sinclair)
60. Phoenix-Prescott, AZ    -Meredith                                   33         33         1,798   1,798
                            -Nexstar
61. Portland, OR            -Meredith                       X           74         74         2,121   2,121
    Vancouver, WA***        -Nexstar                  (from Sinclair)
                            -Tribune
                            -Sinclair
62. Providence-New          -Nexstar                        X           71         85         2,853   3,713
    Bedford, RI             -Sinclair                 (from Sinclair)
63. Raleigh-Durham***       -Nexstar                        X           24         24         3,117   3,117
                            -Sinclair                 (from Sinclair)
64. Richmond-Petersburg,    -Gray (formerly Raycom)         X           95         95         2,386   2,402
    VA***                   -Nexstar                  (from Sinclair)
                            -Sinclair
                            -Tribune
65. Roanoke-Lynchburg,      -Nexstar                        X           43         43         2,562   2,562
    VA***                   -Sinclair                 (from Sinclair)
66. Rochester, NY***        -Nexstar                        X           41         73         2633    3,571
                            -Sinclair                 (from Sinclair)
67. Salt Lake City-St.      -Nexstar                        X           71         71         2,317   2,317
    George, UT***           -Sinclair                 (from Sinclair)
                            -Tribune
68. San Angelo, TX***       -Nexstar                                    64         90         3,986   6,974
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                              -Sinclair
69. Savannah, GA              -Gray (formerly Raycom)         X           87         87         3,033   3,033
                              -Nexstar                  (from Sinclair)
                              -Sinclair
70. Seattle-Tacoma, WA        -Sinclair                       X           42         42         2,058   2,058
                              -Tribune                  (from Sinclair)
71. Shreveport, LA            -Gray (formerly Raycom)                     45         45         2,764   2,764
                              -Nexstar
72. Sioux City, IA            -Nexstar                        X           35         51         3,377   3,718
                              -Sinclair                 (from Sinclair)
73. Springfield-Holyoke,      -Meredith                                   97         97         4,689   4,689
    MA                        -Nexstar
74. St. Louis, MO***          -Meredith                       X           70         70         2,902   2,902
                              -Sinclair                 (from Sinclair
                              -Tribune                   and Tribune)
75. Syracuse, NY              -Nexstar                        X           66         80         2,544   3,630
                              -Sinclair                 (from Sinclair)

76. Tallahassee, FL           -Gray (formerly Raycom)         X           41         52         3,267   3,873
    Thomasville-GA            -Sinclair                 (from Sinclair)
77. Tampa-St. Petersburg-     -Gray (formerly Raycom)                     32         32         1,674   1,677
    Sarasota, FL              -Nexstar
78. Toledo, OH                -Gray (formerly Raycom)         X           47         47         3,088   3,088
                              -Sinclair                 (from Sinclair)
79. Tri-Cities, TN-VA         -Nexstar                        X           84         84         3,656   3,656
    (Bristol, VA;             -Sinclair                 (from Sinclair)
    Greenville, TN;
    Johnson City, TN;
    Kingsport; TN) ***
80. Tulsa, OK                 -Griffin                        X           56         56         2,786   2,786
                              -Sinclair                 (from Sinclair)
81. Tyler-Longview-           -Gray (formerly Raycom)                     78         86         3,480   3,947
    Lufkin-Nacogdoches,       -Nexstar
    TX
82. Waco-Temple-Bryan,        -Gray (formerly Raycom)                     30         30         2,967   2,988
    TX                        -Nexstar
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   83. Washington, DC***        -Sinclair                            X               25            25           2,165          2,166
                                -Tribune                       (from Sinclair)
                                -Nexstar
   84. West Palm Beach-Ft.      -Sinclair                            X               42            42           2,230          2,658
       Pierce, FL               -Gray (formerly Raycom)        (from Sinclair)
   85. Wheeling, WV/            -Nexstar                                            100           100           5,404          5,404
       Steubenville, OH         -Sinclair
   86. Wichita Falls-Lawton,    -Gray (formerly Raycom)                              71            81           3,011          3,853
       TX                       -Nexstar
   87. Wichita-Hutchinson,      -Nexstar                             X               34            36           2,680          2,804
       KS***                    -Sinclair                      (from Sinclair)
   88. Cedar Rapids-            -Gray (formerly Raycom)              X               42            51           2,978          3,245
       Waterloo-Iowa City-      -Sinclair                      (from Sinclair)
       Dubuque, IA
   89. Wilkes-Barre-Scranton-   - Dreamcatcher*                      X               71            83           2,941          3,609
       Hazleton, PA***          -Nexstar                       (from Sinclair)
                                -Tribune**
   90. Yakima-Pasco-            -Gray (formerly Raycom)              X               65            65           2,793          2,793
       Richland-Kennewick,      -Sinclair                      (from Sinclair)
       WA
                                                          Weighted Average           53            56           2,543          2,713


Notes:
1
  Revenue share and HHI figures are calculated based on 2017 spot advertising revenue. Station ownership status is also reflected as of
year-end 2017. Station operator status is only available as of the present day and present-day station operators are assumed to have
also operated the station in 2017, with the exception of the following: Tribune stations pending purchase by Nexstar are counted as
Tribune stations above. Raycom stations bought by Gray in January 2019 are counted as Raycom stations above. Sales representative
status is also only available as of the present day and present-day sales representatives are assumed to have also represented the station
in 2017.
* Defendant owned but did not operate at least one station in DMA.
** Defendant operated but did not own at least one station in DMA. Unless otherwise noted, Defendant-associated stations in the
DMA were both owned and operated by Defendants.
*** Cox or Katz worked with multiple Defendants in DMA.
